Case 1:20-cv-00522-RJJ-RSK ECF No. 9, PagelD.71 Filed 07/08/20 Page 1 of 1
AO-HO (Rev. OV MBE DOAEVGOS2ZARTERSK' ECE No. 4 filed 06/11/20 PagelD.37 Page 1 of 18

SUMMONS IN A CIVIL ACTION
UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

Daunt
Case No. 1:20-cv-522
Hon. Robert J. Jonker
% TO: Jocelyn Benson

ADDRESS: Michigan Department of State
Legal Services Administration
P.O. Box 30204
Lansing, MI 48909

Benson et al.

PLAINTIFF OR PLAINTIFF'S ATTORNEY NAME AND ADDRESS
Cameron T. Norris
Consovoy McCarthy PLLC
1600 Wilson Blvd., Ste. 700

A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve

upon plaintiff, an answer to the attached conplaint or a motion Arli
. ae rlington, VA 22209
under Rule 12 of the Federal Rules of Civil Procedure within q
1 ays ¢ APU “thie ‘
2 days after service of this sum mons on you (not CLERK OF COURT

counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.

The Court has offices in the following locations:

399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
P.O, Box 698, 330 Federal Building, Marquette, MI 49855

107 Federal Building. 410 W. Michigan Ave.. Kalamazoo, MI 49007

113 Federal Building, 315 W. Allegan, Lansing, MI 48933

6/11/2020

By: Deputy Clerk Date

PROOF OF SERVICE

[his summons for Jocelyn Benson was received by me on b- [7- Zle C

(name of mdnvadual and nthe, it any) (date)

Cl personally served the summons on the individual at

(place where served)

on
(date)
CI left the summons at the individual's residence or usual place of abode with . a person
(mame)
of suitable age and discretion who resides there, on , and mailed a copy to the individual's last known address.
(ates .
I served the summons on Akon i [ACASS / (E i sf) , Who is designated by law to accept service
i Thame ofaindivadualy

of process on behalf of ste lya Bern sor £S0S igheges. on faz 2020

(ame of organizaljon) (date)

[JI returmed the summons unexecuted because

L1Other (specify

My fees are $ for travel and $ for services, for a total of $

I declare under the penalty of perjury that this information ts true.

Date: b627-AD® fie ye
sewers signarnre

Additional information regarding attempted service, ete.: Miflu- GY Navn A Gan ettices—

WA E Valera !rsing ae $6933

Server 5 tress

